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    EXHIBIT 13
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                                                   Ex. 13
                                                   Deepwater BP Oil Spill,
                                                   http://whitehouse.gov/deepwater-bp-oil-spill (last
                                                   visited June 28, 2010).
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  ISSUES
                               Deepwater BP Oil Spill
  Civil Rights
  Defense                      "To the people here in the Gulf, we are going to be standing by your
  Disabilities                 side. And to Americans all across the country, come on down and

  Economy                      visit."

  Education                    -- PRESIDENT BARACK OBAMA, U.S. COAST GUARD PANAMA CITY DISTRICT OFFICE,
                               PANAMA CITY, FLORIDA, 8/14/10
  Energy & Environment
   A New Foundation
   Deepwater BP Oil Spill
  Ethics
  Family
  Fiscal Responsibility
  Foreign Policy
  Health Care
  Homeland Security                                                                                                 RELATED BLOG POSTS
  Immigration                                                                                                       December 01, 2010 10:00 AM EST
  Poverty                                                                                                           A Taste of the Gulf at the White House
                                                                                                                    White House Executive Chef Cris Comerford
  Rural
                                                                                                                    higlights today's menu at the White House Mess
  Seniors & Social Security                                                                                         including oysters, crab, shrimp and trout from the
  Service                                                                                                           Gulf Coast region in honor of "America's Night Out
                               Download Video: mp4 (123MB) | mp3 (12MB)
                                                                                                                    for Gulf Seafood."
  Taxes
  Technology                   Information on Spill-Related Damages and Claims
                                                                                                                    November 03, 2010 3:54 PM EST
  Urban Policy                 Individuals and businesses that have incurred damages as a result of the oil spill   Criticizing the Inspectors
                               may submit a claim to the Gulf Coast Claims Facility (GCCF) for removal and          Michael R. Bromwich, Director the Bureau of
  Veterans                     cleanup costs, damage to real or personal property, lost earnings or profits, loss   Ocean Energy Management, Regulation and
  Women                        of subsistence use of natural resources, or physical injury or death. Claims can     Enforcement in the Department of Interior,
                               be submitted at www.gulfcoastclaimsfacility.com, or by calling (800) 916-4893        addresses criticisms of federal employees
  Additional Issues
                               (toll free); (800) 916-4893 (multilingual); or (866) 682-1758 (TTY).                 responsible for conducting inspections on offshore
                                                                                                                    rigs.
                               If, after 90 days, BP or the GCCF has not settled your claim (or any time after BP
                               or the GCCF has denied your claim), you may present it to the National Pollution     August 25, 2010 6:07 PM EST
                               Fund Center. Information on presenting a claim to the NPFC is available at 1-        Administration Officials Travel to the Gulf
                               800-280-7118 and at http://www.uscg.mil/npfc/Claims/.                                Coast
                                                                                                                                               The Chair of the White
                               For more information on assistance for small business owners and others in                                      House Council on
                               affected areas, visit RestoreTheGulf.gov.                                                                       Environmental Quality
                                                                                                                                               traveled to Louisiana to
                               What You Can Do                                                                                                 view relief work following
                                                                                                                    the Deepwater oil spill and discuss long-term Gulf
                                • Request volunteer information and register to volunteer: (866)-448-5816
                                                                                                                    Coast restoration and recovery.

                                                                                                                                                                             http://whitehouse.gov/deepwater-bp-oil-spill (last
                                • Submit your vessel as a vessel of opportunity skimming system or submit
                                  alternative response technology, services or products:
                                                                                                                    VIEW ALL RELATED BLOG POSTS
                                  (281) 366-5511
                                • Report oiled or injured wildlife: 1-866-557-1401
                                • Report oil on land: 1-866-448-5816
                                                                                                                    RELATED VIDEO
                               State specific volunteer opportunities:


                                • Louisiana
                                • Mississippi
                                                                                                                                                                             Deepwater BP Oil Spill,

                                                                                                                                                                             visited Feb. 25, 2011).




                                • Florida
                                • Alabama


                               Federal Response Resources
                               Check out the links below to find out how federal departments and agencies are
                               responding to the Deepwater BP Oil Spill:                                            August 29, 2010 11:19 AM
                                                                                                                                                                             Ex. 13




                                                                                                                    A Commitment to Restoring New Orleans




http://www.whitehouse.gov/deepwater-bp-oil-spill                                                                                                             2/25/2011
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RestoreTheGulf.gov
RestoretheGulf.gov is the official federal portal for the Deepwater BP oil spill
response and recovery. This site provides the public with information on the
response, current operations, news and updates, how to file a claim and obtain       FROM THE PRESS OFFICE
other assistance, and links to federal, state and local
                                                                                     September 28, 2010 4:51 PM EST
partners: http://www.restorethegulf.gov
                                                                                     Statement by the President on the Long-
                                                                                     Term Recovery Plan After the Deepwater
 • Facebook                                                                          Horizon Oil Spill
 • Flickr
 • Twitter                                                                           September 19, 2010 10:54 AM EST

 • YouTube                                                                           Statement by President Obama on Final
                                                                                     Termination of BP's Blown Out Well in the
                                                                                     Gulf of Mexico
Department of Homeland Security (DHS)
Since the moments after the oil rig explosion on the night of April 20, DHS has
                                                                                     August 14, 2010 1:47 PM EST
played a lead role in federal response efforts—deploying the U.S. Coast Guard
                                                                                     Remarks by the President on Gulf Coast
to search and rescue the 126 people aboard the rig, and quickly leading efforts
                                                                                     Recovery in Panama City, Florida
to establish a command center on the Gulf Coast to address the potential
environmental impact of the event and to coordinate with all state and local
governments. Secretary Napolitano leads the National Response Team, an
organization of 16 federal departments and agencies responsible for
coordinating emergency preparedness and response to oil and hazardous
substance pollution events.


U.S. Coast Guard
The Coast Guard has played a major role from the very beginning, when it
responded to the explosion on a search and rescue mission to save lives.
Pursuant to the National Contingency Plan, Rear Admiral Mary Landry was
named the Federal On-Scene Coordinator to lead a Regional Response Team
which was stood up that included DHS, DOC/NOAA, DOI and the EPA, as well
as state and local representatives. As the event escalated, Coast Guard Admiral
Thad Allen was announced as the National Incident Commander for the
administration’s continued, coordinated response—providing additional
coordinated oversight in leveraging every available resource to respond to the oil
spill and minimize the associated environmental risks.


Department of the Interior (DOI)
The morning after the explosion, Secretary of the Interior deployed Deputy
Secretary David J. Hayes to the Gulf Coast to assist with coordination and
response to the event, and provide hourly reports back to the administration.
Since then, DOI has played a vital role in overseeing BP’s response efforts
while—at the President’s request—working to deliver a report with
recommendations on what, if any, additional safety measures should be required
for offshore operations. Secretary Salazar has announced that inspections of all
deepwater rigs and platforms are underway.


Environmental Protection Agency (EPA)
Since the Deepwater BP Oil Spill, EPA has provided full support to the U.S.
Coast Guard and is monitoring and responding to potential public health and
environmental concerns. Environmental data, including air quality and water
samples, will be posted and frequently updated on this site as it is collected and
validated by EPA’s response teams along the impacted coastlines. This data is
meant to determine potential risks to public health and the environment:
http://www.epa.gov/bpspill


National Oceanic and Atmospheric Administration
As the nation’s leading scientific resource for oil spills, NOAA has been on the
scene of the Deepwater Horizon oil spill from the start, providing coordinated
scientific weather and biological response services to federal, state and local
organizations: http://response.restoration.noaa.gov/deepwaterhorizon
Weather Forecast: http://www.srh.noaa.gov/lix/


Small Business Administration
SBA is making low-interest loans available to small businesses in the Gulf Coast
regions of Alabama, Florida, Louisiana and Mississippi suffering financial losses
following the April 20 Deepwater BP oil spill that shut down commercial and
recreational fishing in the Gulf of Mexico. SBA’s Economic Injury Disaster Loans
(EIDL) are available immediately in designated counties and parishes of each of
the four states to help meet the financial needs of qualifying small businesses
following the oil spill: http://www.sba.gov/services/disasterassistance/


Department of Defense (DOD)
DOD continues to support the ongoing response effort by lending Naval and Air
Force bases to provide vital staging areas for boom deployments and other




http://www.whitehouse.gov/deepwater-bp-oil-spill                                                                       2/25/2011
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activities, and providing C-130 aircraft equipped with Modular Aerial Spray
Systems, which dispense chemical dispersant—capable of covering up to 250
acres per flight. DOD also plays a significant role in the National Response
Team, helping to lead the coordination of response actions for the federal
government. Secretary of Defense Gates has authorized use of Title 32 status
for up to 17,500 National Guard members in four states: Alabama (3,000),
Florida (2,500), Louisiana (6,000) and Mississippi (6,000).


Department of Labor
A number of agencies within the Department of Labor are working every day for
the health, safety, and well-being of those involved in the oil spill response and
cleanup operations. The Occupational Safety and Health Administration (OSHA)
is evaluating the safety at worksites around the Gulf, covering the vessels of
opportunity, beach cleanup, staging areas, decontamination, distribution and
deployment sites. Worker exposure data and requirements for training and
personal protective equipment are posted on OSHA’s website. The Employment
and Training Administration (ETA) supports a number of One Stop Career
Centers in the area, and is helping to facilitate retraining and re-employment
assistance to help workers who have been displaced find new work
opportunities. In addition, DOL is providing resources to area workers regarding
wage laws and federal contract compliance: http://www.dol.gov/dol/gulf.htm


Department of the Interior’s Fish and Wildlife Service
The Fish and Wildlife Service continues to support the joint agency response to
the Deepwater Horizon oil spill in the Gulf of Mexico with experienced
specialists, land managers, and support personnel. Booms to capture and
deflect anticipated oil are being deployed at Breton National Wildlife Refuge,
where thousands of brown pelicans and shorebirds are currently nesting. The
Service also is initiating Natural Resource Damage Assessment and Restoration
activities in this incident to assess and address the long-term damage to
impacted resources: http://www.fws.gov/home/dhoilspill


Department of the Interior’s National Park Service
The National Park Service is focused on human safety and resource protection
in eight national parks in the Gulf area. These parks are working to assess
resources, collect baseline data, coordinate boom placements, plan for
responsible cleanup, install barriers for shore bird and turtle nest protection, and
plan for potential park closures, if necessary: http://www.nps.gov/aboutus/oil-spill
-response.htm


National Institute for Occupational Safety and Health
Oil spill response workers may be exposed to many different chemical, physical,
biological, and psychological hazards. These hazards vary depending on the
type and location of the oil spill, type and stage of response, degree of
coordination between entities involved in response and recovery, and the
workers’ specific tasks. Therefore, occupational and environmental hazards
need to be identified, assessed, and monitored in each oil spill response:
http://www.cdc.gov/niosh/topics/oilspillresponse


Daily Updates
The latest in the Ongoing Administration-Wide Response to the Deepwater BP
Oil Spill including additional resources and the response by the numbers is
available here.


Information on Air, Food, and Water Safety
Air: EPA continues air monitoring effort to ensure the safety of local residents
and track any developing air quality changes.


Food: Consumers need to know that seafood from the open waters of the Gulf of
Mexico is safe and fishermen need to be able to sell their products with
confidence. That’s why there’s an aggressive, comprehensive, coordinated, multi
-agency program to ensure the safety of Gulf seafood – working across federal
agencies and with state and local officials, and the seafood industry, to closely
monitor the effects of the oil spill and its potential impact on seafood safety. This
includes rigorous testing and protocols throughout the process of bringing safe
Gulf seafood to market – from active monitoring of the Gulf fisheries where
seafood is caught to the inspection of companies that catch and sell Gulf
seafood to the frequent testing of seafood caught in the Gulf to ensure that all
seafood that goes to market is safe.


Water: With the ongoing reopening of Gulf fisheries, fishermen are going back to
work and Americans can confidently and safely enjoy Gulf seafood again.




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